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                          UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                 LUFKIN DIVISION

 MISTY L. DELANEY,

 Plaintiff,                                                       Case No. 9:19-cv-00197

          v.                                                    Honorable Judge Ron Clark

 VALENTINE & KEBARTAS, LLC,

 Defendant.

               NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

        NOW COMES Misty L. Delaney (“Plaintiff”), by and through her attorneys, Sulaiman Law

Group, Ltd., and in support of her Notice of Voluntary Dismissal with Prejudice, states as follows:

        Plaintiff, pursuant to settlement and Federal Rule of Civil Procedure 41(a)(1)(A)(i), hereby

voluntarily dismisses her claims against, Valentine & Kebartas, LLC.


Dated: April 24, 2020                                Respectfully Submitted,

                                                     MISTY L. DELANEY

                                                     s/ Omar T. Sulaiman
                                                     Omar T. Sulaiman
                                                     Sulaiman Law Group, Ltd.
                                                     2500 S. Highland Avenue, Suite 200
                                                     Lombard, IL 60148
                                                     (630) 575-8141
                                                     osulaiman@sulaimanlaw.com
                                                     Attorney for Plaintiff




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                              CERTIFICATE OF SERVICE

        I, Omar T. Sulaiman, an attorney, certify that on April 24, 2020, the foregoing
document was filed electronically using the Court’s CM/ECF system, which will accomplish
service on all counsel of record.

                                                       /s/ Omar T. Sulaiman




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